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                            UNITED STATES JUDICIAL PANEL
                                         on
                             MULTIDISTRICT LITIGATION


                              NOTICE OF HEARING SESSION


Pursuant to the order of the United States Judicial Panel on Multidistrict Litigation filed today,
notice is hereby given that a hearing session has been scheduled to consider various matters under
28 U.S.C. § 1407.

DATE OF HEARING SESSION:                  May 27, 2021

LOCATION OF HEARING SESSION: United States Judicial Panel on Multidistrict Litigation
                             Thurgood Marshall Federal Judiciary Building
                             One Columbus Circle, NE
                             Washington, DC 20544-0005

TIME OF HEARING SESSION:                   11:00 a.m.

SCHEDULED MATTERS: Matters scheduled for consideration at this hearing session are listed
on the enclosed Hearing Session Order and Schedule of Matters for Hearing Session.

       •       Section A of this Schedule lists the matters designated for oral argument by
               videoconference or teleconference and includes all actions encompassed by
               Motion(s) for transfer filed pursuant to Rules 6.1 and 6.2 and Orders to Show Cause
               filed pursuant to Rule 8.1(a). Any party waiving oral argument pursuant to Rule
               11.1(d) need not participate in the Hearing Session videoconference or
               teleconference.

       •       Section B of this Schedule lists the matters that the Panel has determined to
               consider without oral argument, pursuant to Rule 11.1(c). Parties and
               counsel involved in these matters need not participate in the Hearing Session.

ORAL ARGUMENT:

        •      THE PANEL WILL HEAR ORAL ARGUMENT BY VIDEOCONFERENCE
               OR TELECONFERENCE. Further details regarding how the Hearing Session
               will be conducted—including sign-in information, allocation of argument times,
               and a mandatory training session for arguing attorneys—shall be provided after the
               filing of the parties’ Notices of Presentation or Waiver of Oral Argument.
               Note that the training session is not mandatory for attorneys who previously have
               attended a training session.
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       •       The Panel carefully considers the positions advocated in filings with the Panel
               when it allocates time to attorneys presenting oral argument. The Panel,
               therefore, expects attorneys to adhere to those positions including those
               concerning an appropriate transferee district.

        •      The Panel expects attorneys presenting oral argument to be prepared to discuss
               what steps they have taken to pursue alternatives to centralization including, but
               not limited to, engaging in informal coordination of discovery and scheduling, and
               seeking Section 1404 transfer of one or more of the subject cases.

For those matters listed on Section A of the Schedule, the “Notice of Presentation or Waiver of
Oral Argument” must be filed in this office no later than May 3, 2021. The procedures governing
Panel oral argument (Panel Rule 11.1) are attached. The Panel strictly adheres to these procedures.

                                             FOR THE PANEL:



                                             John W. Nichols
                                             Clerk of the Panel
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                                UNITED STATES JUDICIAL PANEL
                                             on
                                  MULTIDISTRICT LITIGATION


                                    HEARING SESSION ORDER


       The Panel issues the following orders in connection with its next hearing session,

      IT IS ORDERED that on May 27, 2021, the Panel will convene a hearing session
in Washington, DC, to consider the matters on the attached Schedule under 28 U.S.C. § 1407.

         IT IS FURTHER ORDERED that the Panel may, on its own initiative, consider transfer of any
or all of the actions in those matters to any district or districts.

       IT IS FURTHER ORDERED that, in light of the ongoing COVID-19 pandemic, the Panel will
hear oral argument on the matters listed on Section A of the attached Schedule by videoconference or
teleconference, unless the parties waive oral argument or unless the Panel later decides to dispense
with oral argument pursuant to Panel Rule 11.1(c).

        IT IS FURTHER ORDERED that the Panel will consider without oral argument the matters
listed on Section B of the attached Schedule pursuant to Panel Rule 11.1(c). The Panel reserves the
prerogative, on any basis including submissions of parties pursuant to Panel Rule 11.1(b), to designate
any of those matters for oral argument.

        IT IS FURTHER ORDERED that the Clerk of the Judicial Panel on Multidistrict Litigation
shall direct notice of this hearing session to counsel for all parties involved in the matters on the
attached Schedule.




                                 PANEL ON MULTIDISTRICT LITIGATION



                                 _______________________________
                                          Karen K. Caldwell
                                              Chair

                                 Catherine D. Perry       Nathaniel M. Gorton
                                 Matthew F. Kennelly      David C. Norton
                                 Roger T. Benitez         Dale A. Kimball
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                            SCHEDULE OF MATTERS FOR HEARING SESSION
                                   May 27, 2021 -- Washington, DC



                                         SECTION A
                           MATTERS DESIGNATED FOR ORAL ARGUMENT

(This schedule contains only those civil actions listed in the Schedule(s) of Actions submitted with the docketed
motion(s) for transfer. See Panel Rules 6.1 and 6.2. In the event these dockets are centralized, other actions of which
the Panel has been informed may be subject to transfer pursuant to Panel Rule 7.1.)



MDL No. 2990 − IN RE: PALBOCICLIB ('730) PATENT LITIGATION (NO. II)

  Motion of plaintiffs Pfizer Inc., et al., to transfer the following actions to the United States District
Court for the District of Delaware:

                  District of Delaware

       PFIZER INC., ET AL. v. ALEMBIC PHARMACEUTICALS, INC., ET AL.,
         C.A. No. 1:20−01392
       PFIZER INC., ET AL. v. CIPLA USA INC., ET AL., C.A. No.1:20−01393
       PFIZER INC., ET AL. v. ZYDUS PHARMACEUTICALS (USA) INC., ET AL.,
         C.A. No. 1:20−01396
       PFIZER INC., ET AL. v. SUN PHARMACEUTICAL INDUSTRIES, LTD., ET AL.
         C.A. No. 1:20−01407
       PFIZER INC., ET AL. v. AUROBINDO PHARMA, LTD., ET AL., C.A. No. 1:20−01528
       PFIZER INC., ET AL. v. DR. REDDY'S LABORATORIES, INC., ET AL.,
         C.A. No. 1:20−01530
       PFIZER INC., ET AL. v. AIZANT DRUG RESEARCH SOLUTIONS PVT. LTD.,
         C.A. No. 1:21−00034
       PFIZER INC., ET AL. v. NATCO PHARMA, INC., ET AL., C.A. No.1:21−00078
       PFIZER INC., ET AL. v. MSN PHARMACEUTICALS INC., ET AL.,
         C.A. No. 1:21−00139

                  Northern District of West Virginia

       PFIZER INC., ET AL. v. MYLAN PHARMACEUTICALS INC., ET AL.,
         C.A. No. 1:20−00244
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MDL No. 2992 − IN RE: BANK OF AMERICA CALIFORNIA UNEMPLOYMENT
               BENEFITS LITIGATION

     Motion of plaintiff Jennifer Yick to transfer the following actions to the United States District
Court for the Northern District of California:


               Central District of California
      CHONG, ET AL. v. BANK OF AMERICA, N.A., C.A. No. 2:20−10052
      ZOELLE, ET AL. v. BANK OF AMERICA, N.A., ET AL., C.A. No. 2:21−00518

               Eastern District of California

      WIGGINS v. BANK OF AMERICA, N.A., C.A. No. 2:21−00319

               Northern District of California

      YICK v. BANK OF AMERICA, N.A., C.A. No. 3:21−00376
      RODRIGUEZ v. BANK OF AMERICA, N.A., C.A. No. 3:21−00494
      WILLRICH v. BANK OF AMERICA, N.A., C.A. No. 3:21−00547
      MCCLURE v. BANK OF AMERICA, N.A., C.A. No. 3:21−00572
      OOSTHUIZEN, ET AL. v. BANK OF AMERICA, N.A., C.A. No. 3:21−00615
      WILSON v. BANK OF AMERICA, N.A., C.A. No. 3:21−00699
      MOSSON v. BANK OF AMERICA, N.A., C.A. No. 3:21−00743
      CAJAS v. BANK OF AMERICA, N.A., C.A. No. 3:21−00869

MDL No. 2993 − IN RE: CROP INPUTS ANTITRUST LITIGATION

      Motion of plaintiffs Barbara Piper, et al., to transfer the following actions to the United States
District Court for the Southern District of Illinois:

               Southern District of Illinois

      PIPER v. BAYER CROPSCIENCE LP, ET AL., C.A. No. 3:21−00021
      SWANSON v. BAYER CROPSCIENCE LP, ET AL., C.A. No. 3:21−00046
      LEX v. BAYER CROPSCIENCE LP, ET AL., C.A. No. 3:21−00122
      DUNCAN v. BAYER CROPSCIENCE LP, ET AL., C.A. No. 3:21−00158
      JONES PLANTING CO. III v. BAYER CROPSCIENCE LP, ET AL.,
         C.A. No. 3:21−00173




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      CANJAR v. BAYER CROPSCIENCE LP, ET AL., C.A. No. 3:21−00181
      VIENNA EQHO FARMS v. BAYER CROPSCIENCE, INC., ET AL.,
        C.A. No. 3:21−00204

               District of Kansas

      BUDDE v. SYNGENTA CORPORATION, ET AL., C.A. No. 2:21−02095

               District of Minnesota

      HANDWERK v. BAYER CROPSCIENCE LP, ET AL., C.A. No. 0:21−00351
      FLATEN v. BAYER CROPSCIENCE LP, ET AL., C.A. No. 0:21−00404
      RYAN BROS., INC., ET AL. v. BAYER CROPSCIENCE LP, ET AL.,
        C.A. No. 0:21−00433
      PFAFF v. BAYER CROPSCIENCE LP, ET AL., C.A. No. 0:21−00462
      CARLSON v. BAYER CROPSCIENCE LP, ET AL., C.A. No. 0:21−00475
MDL No. 2994 − IN RE: MEDNAX SERVICES, INC., CUSTOMER DATA SECURITY
               BREACH LITIGATION

      Motion of defendants Mednax Services, Inc.; Mednax, Inc.; Pediatrix Medical Group, Inc.; and
Pediatrix Medical Group of Kansas, P.C. to transfer the following actions to the United States District
Court for the Southern District of Florida:

               Southern District of California

      RUMELY, ET AL. v. MEDNAX, INC., ET AL., C.A. No. 3:21−00152

               Southern District of Florida

      DAVIS v. MEDNAX SERVICES, INC., C.A. No. 0:21−60347
      COHEN v. MEDNAX SERVICES, INC., C.A. No. 1:21−20375

               Western District of Missouri

      A.W. v. PEDIATRIX MEDICAL GROUP OF KANSAS, P.C., C.A. No. 4:21−00119

               District of South Carolina

      NIELSEN, ET AL. v. MEDNAX, INC., ET AL., C.A. No. 4:21−00500




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MDL No. 2995 − IN RE: ALLIANZ STRUCTURED ALPHA FUNDS LITIGATION

     Motion of plaintiff The Board of Trustees of the San Diego County Construction Laborers’
Pension Trust Fund to transfer the following actions to the United States District Court for the
Southern District of New York:

              Southern District of California

     BOARD OF TRUSTEES OF THE SAN DIEGO COUNTY CONSTRUCTION
       LABORERS' PENSION TRUST FUND v. ALLIANZ GLOBAL INVESTORS U.S. LLC,
       C.A. No. 3:21−00345

              Southern District of New York

     ARKANSAS TEACHER RETIREMENT SYSTEM v. ALLIANZ GLOBAL
       INVESTORS U.S. LLC, ET AL., C.A. No. 1:20−05615
     RETIREMENT PROGRAM FOR EMPLOYEES OF THE TOWN OF FAIRFIELD,
       ET AL. v. ALLIANZ GLOBAL INVESTORS U.S. LLC, C.A. No. 1:20−05817
     LEHIGH UNIVERSITY v. ALLIANZ GLOBAL INVESTORS U.S. LLC, ET AL.,
       C.A. No. 1:20−07061
     TEAMSTER MEMBERS RETIREMENT PLAN v. ALLIANZ GLOBAL INVESTORS
       U.S. LLC, ET AL., C.A. No. 1:20−07154
     BLUE CROSS BLUE SHIELD ASSOCIATION NATIONAL EMPLOYEE BENEFITS
       COMMITTEE v. ALLIANZ GLOBAL INVESTORS U.S. LLC, ET AL.,
       C.A. No. 1:20−07606
     METROPOLITAN TRANSPORTATION AUTHORITY DEFINED BENEFIT PENSION
       PLAN MASTER TRUST, ET AL. v. ALLIANZ GLOBAL INVESTORS U.S.LLC,
       ET AL., C.A. No. 1:20−07842
     CHICAGO AREA I.B. OF T. PENSION PLAN & TRUST, ET AL. v. ALLIANZ
       GLOBAL INVESTORS U.S. LLC, ET AL., C.A. No. 1:20−07952
     THE EMPLOYES RETIREMENT SYSTEM OF THE CITY OF MILWAUKEE v.
       ALLIANZ GLOBAL INVESTORS U.S. LLC, ET AL., C.A. No. 1:20−08642
     CHICAGO & VICINITY LABORERS DISTRICT COUNCIL PENSION FUND AND
       CHICAGO & VICINITY LABORERS DISTRICT COUNCIL HEALTH &
       WELFARE FUND, ET AL. v. ALLIANZ SE, ET AL., C.A. No. 1:20−09478
     THE BOARDS OF TRUSTEES FOR THE CARPENTERS HEALTH AND SECURITY
       TRUST OF WESTERN WASHINGTON AND FOR THE GROUP INVESTMENT
       TRUST OF THE CARPENTERS INDIVIDUAL ACCOUNT PENSION TRUST OF
       WESTERN WASHINGTON, ET AL. v. ALLIANZ SE, ET AL., C.A. No. 1:20−09479




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     UNITED FOOD & COMMERCIAL WORKERS UNION−EMPLOYER PENSION
       FUND, AND ITS TRUSTEES v. ALLIANZ GLOBAL INVESTORS U.S. LLC,
       ET AL., C.A. No. 1:20−09587
     BOARD OF TRUSTEES OF THE INTERNATIONAL BROTHERHOOD OF
       ELECTRICAL WORKERS, LOCAL NO. 38 PENSION FUND PENSION PLAN v.
       ALLIANZ GLOBAL INVESTORS U.S. LLC, ET AL., C.A. No. 1:20−10028
     BLUE CROSS AND BLUE SHIELD ASSOCIATION v. ALLIANZ GLOBAL
       INVESTORS U.S. LLC, C.A. No. 1:20−10848
     MARCO CONSULTING GROUP TRUST I v. ALLIANZ GLOBAL INVESTORS U.S.
       LLC, ET AL., C.A. No. 1:21−00401
     UNIVERSITY HEALTH, INC., ET AL. v. ALLIANZ GLOBAL INVESTORS U.S. LLC,
       ET AL., C.A. No. 1:21−01485

MDL No. 2996 − IN RE: MCKINSEY & COMPANY, INC., NATIONAL PRESCRIPTION
               OPIATE CONSULTANT LITIGATION

      Motion of defendants McKinsey & Company, Inc.; McKinsey & Company, Inc. United States;
and McKinsey & Company, Inc. Washington D.C., to transfer the following actions to the United
States District Court for the Southern District of New York:

             Southern District of Florida

     THE CITY OF PEMBROKE PINES, FLORIDA v. MCKINSEY & COMPANY, INC.,
       C.A. No. 0:21−60305

             Southern District of Illinois

     ST. CLAIR COUNTY, ILLINOIS v. MCKINSEY & COMPANY, INC., ET AL.,
       C.A. No. 3:21−00251
     MADISON COUNTY, ILLINOIS v. MCKINSEY & COMPANY, INC., ET AL.,
       C.A. No. 3:21−00254

             Western District of Kentucky

     GREEN COUNTY FISCAL COURT, ET AL. v. MCKINSEY & COMPANY, INC.
       UNITED STATES, ET AL., C.A. No. 1:21−00035

             Eastern District of New York

     THE COUNTY OF GENESEE, ET AL. v. MCKINSEY & COMPANY, INC.,
       C.A. No. 2:21−01039


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       Northern District of Ohio

YUROK TRIBE v. MCKINSEY & COMPANY, INC., C.A. No. 1:21−45026
HOOPA VALLEY TRIBE v. MCKINSEY & COMPANY, INC., C.A. No. 1:21−45027
KENAITZE INDIAN TRIBE, ET AL. v. MCKINSEY & COMPANY, INC.,
  C.A. No. 1:21−45028
FEATHER RIVER TRIBAL HEALTH, INC., ET AL. v. MCKINSEY & COMPANY,
  INC., C.A. No. 1:21−45032
SWINOMISH INDIAN TRIBAL COMMUNITY v. MCKINSEY & COMPANY, INC.,
  C.A. No. 1:21−45033
MONTGOMERY COUNTY OHIO, ET AL. v. MCKINSEY & COMPANY, INC.,
  C.A. No. 1:21−45037

       Western District of Oklahoma

CITIZEN POTTAWATOMIE NATION v. MCKINSEY & COMPANY, INC.,
  C.A. No. 5:21−00170
CITY OF SHAWNEE, ET AL. v. MCKINSEY & COMPANY, INC., C.A. No. 5:21−00174
BOARD OF COUNTY COMMISSIONERS OF KAY COUNTY, ET AL. v. MCKINSEY
  & COMPANY, INC., C.A. No. 5:21−00176

       Western District of Washington

KING COUNTY v. MCKINSEY & COMPANY, INC. UNITED STATES, ET AL.,
  C.A. No. 2:21−00221
SKAGIT COUNTY v. MCKINSEY & COMPANY, INC. UNITED STATES, ET AL.,
  C.A. No. 2:21−00226

       Southern District of West Virginia

THE COUNTY COMMISSION OF MINGO COUNTY, ET AL. v. MCKINSEY &
  COMPANY, INC., C.A. No. 2:21−00079




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MDL No. 2997 − IN RE: BABY FOOD MARKETING, SALES PRACTICES AND
               PRODUCTS LIABILITY LITIGATION

      Motion of plaintiffs Lori-Anne Albano, et al., to transfer the following actions to the United
States District Court for the Eastern District of New York:

               Central District of California

      ROBBINS v. GERBER PRODUCTS COMPANY, ET AL., C.A. No. 2:21−01457

               Northern District of California

      GULKAROV v. PLUM, PBC, C.A. No. 4:21−00913
      MCKEON, ET AL. v. PLUM, PBC, ET AL., C.A. No. 4:21−01113

               Northern District of Illinois

      GARCES v. GERBER PRODUCTS CO., ET AL., C.A. No. 1:21−00719

               District of Kansas

      JOHNSON, ET AL. v. BEECH−NUT NUTRITION COMPANY, ET AL.,
        C.A. No. 2:21−02096

               Western District of Missouri

      SMITH, ET AL. v. THE HAIN CELESTIAL GROUP, INC., C.A. No. 4:21−00129

               District of New Jersey

      SMID v. CAMPBELL SOUP COMPANY, ET AL., C.A. No. 1:21−02417
      SHEPARD, ET AL. v. GERBER PRODUCTS COMPANY, C.A. No. 2:21−01977
      MOORE v. GERBER PRODUCTS COMPANY, C.A. No. 2:21−02516
      CANTOR, ET AL. v. GERBER PRODUCTS COMPANY, C.A. No. 2:21−03402




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       Eastern District of New York

WALLS, ET AL. v. BEECH−NUT NUTRITION COMPANY, ET AL.,
  C.A. No. 1:21−00870
STEWART, ET AL. v. HAIN CELESTIAL GROUP, INC., C.A. No. 2:21−00678
BREDBERG, ET AL. v. THE HAIN CELESTIAL GROUP, INC., C.A. No. 2:21−00758
MAYS v. HAIN CELESTIAL GROUP, INC., C.A. No. 2:21−00805
BOYD v. HAIN CELESTIAL GROUP, INC., C.A. No. 2:21−00884
MCKEON, ET AL. v. HAIN CELESTIAL GROUP, C.A. No. 2:21−00938
BAUMGARTEN v. THE HAIN CELESTIAL GROUP, INC., C.A. No. 2:21−00944
WILLOUGHBY v. HAIN CELESTIAL GROUP, C.A. No. 2:21−00970
LOPEZ−SANCHEZ v. THE HAIN CELESTIAL GROUP, INC., C.A. No. 2:21−01045
ZORRILLA v. HAIN CELESTIAL GROUP, INC., C.A. No. 2:21−01062
GALLOWAY v. HAIN CELESTIAL GROUP, INC., C.A. No. 2:21−01067
BACCARI, ET AL. v. HAIN CELESTIAL GROUP, INC., C.A. No. 2:21−01076
ALBANO, ET AL. v. HAIN CELESTIAL GROUP, INC., ET AL., C.A. No. 2:21−01118

       Northern District of New York

THOMAS, ET AL. v. BEECH−NUT NUTRITION COMPANY, C.A. No. 1:21−00133
PEEK v. BEECH−NUT NUTRITION COMPANY, C.A. No. 1:21−00167
MOORE, ET AL. v. BEECH−NUT NUTRITION COMPANY, C.A. No. 1:21−00183
DOYLE v. BEECH−NUT NUTRITION CO., C.A. No. 1:21−00186
BOYD v. BEECH−NUT NUTRITION COMPANY, C.A. No. 1:21−00200
CANTOR, ET AL. v. BEECH−NUT NUTRITION COMPANY, C.A. No. 1:21−00213
HENRY v. BEECH−NUT NUTRITION CO., C.A. No. 1:21−00227
MOTHERWAY v. BEECH−NUT NUTRITION COMPANY, C.A. No. 1:21−00229
GANCARZ v. BEECH−NUT NUTRITION COMPANY, C.A. No. 1:21−00258

       Southern District of New York

STEWART, ET AL. v. NURTURE, INC., C.A. No. 1:21−01217
SOTO v. NURTURE, INC., C.A. No. 1:21−01271
JAIN v. NURTURE, INC., C.A. No. 1:21−01473
SMITH v. NURTURE, INC., C.A. No. 1:21−01534
HAMPTON, ET AL. v. NURTURE, INC., C.A. No. 1:21−01882

       Eastern District of Virginia

KEETER v. GERBER PRODUCTS COMPANY, C.A. No. 1:21−00269
MOORE v. GERBER PRODUCTS COMPANY, C.A. No. 1:21−00277


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MDL No. 2998 − IN RE: PORK DIRECT AND INDIRECT PURCHASER ANTITRUST
               LITIGATION

      Motion of plaintiffs Sysco Corporation and Cheney Brothers, Inc., to transfer the following
actions to the United States District Court for the Southern District of Texas or, in the alternative,
the United States District Court for the District of Minnesota:

               Southern District of Florida

      CHENEY BROTHERS, INC. v. AGRI STATS, INC., ET AL., C.A. No. 9:21−80424

               Southern District of Texas

      SYSCO CORPORATION v. AGRI STATS, INC., ET AL., C.A. No. 4:21−00773

MDL No. 2999 − IN RE: ACTHAR GEL ANTITRUST LITIGATION

      Motion of plaintiffs City of Rockford, Steamfitters Local Union No. 420, United Association of
Plumbers & Pipefitters Local 322 of Southern New Jersey, Acument Global Technologies, and
International Union of Operating Engineers Local 542 to transfer the following actions to the United
States District Court for the Northern District of Illinois:

               Central District of California

      HUMANA, INC. v. MALLINCKRODT ARD LLC, ET AL., C.A. No. 2:19−06926

               Northern District of California

      HEALTH CARE SERVICE CORP. v. MALLINCKRODT ARD LLC, ET AL.,
        C.A. No. 3:21−00165

               Northern District of Georgia

      CITY OF MARIETTA v. MALLINCKRODT ARD LLC, C.A. No. 1:20−00552

               Northern District of Illinois

      CITY OF ROCKFORD v. MALLINCKRODT ARD, INC., ET AL., C.A. No. 3:17−50107
      MSP RECOVERY CLAIMS, SERIES LLC, ET AL. v. MALLINCKRODT ARD INC.,
        ET AL., C.A. No. 3:20−50056




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               District of New Jersey

      UNITED ASSOCIATION OF PLUMBERS & PIPEFITTERS LOCAL 322 OF
        SOUTHERN NEW JERSEY v. MALLINCKRODT ARD, LLC, ET AL.,
        C.A. No. 1:20−00188

               Eastern District of Pennsylvania

      STRUNCK, ET AL. v. QUESTCOR PHARMACEUTICALS, INC., C.A. No. 2:12−00175
      STEAMFITTERS LOCAL UNION NO. 420 v. MALLINCKRODT ARD, LLC, ET AL.,
        C.A. No. 2:19−03047
      INTERNATIONAL UNION OF OPERATING ENGINEERS LOCAL 542 v.
        MALLINCKRODT ARD, INC. ET AL., C.A. No. 2:21−00114

               Western District of Tennessee
      ACUMENT GLOBAL TECHNOLOGIES v. MALLINKRODT ARD, INC., ET AL.,
        C.A. No. 2:21−02024

MDL No. 3000 − IN RE: CHARLES HAYES FALSE IMPRISONMENT LITIGATION

     Motion of plaintiff Charles Hayes to transfer the following actions to the United States District
Court for the Eastern District of California or the United States District Court for the District of
Nevada:

               Eastern District of California

      HAYES v. KERN COUNTY, C.A. No. 1:19−01722
      HAYES v. ROJAS, ET AL., C.A. No. 1:20−01820

               District of Nevada

      HAYES v. LAS VEGAS METROPOLITAN POLICE DEPARTMENT, ET AL.,
        C.A. No. 2:20−02048




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MDL No. 3001 − IN RE: GOOGLE PLAY STORE SIMULATED CASINO−STYLE
               GAMES LITIGATION

      Motion of Plaintiffs Maria Valencia-Torres, Edgar Smith, Michael Brown, and Erica Montoya to
transfer the following actions to the United States District Court for the Northern District of California:

               Northern District of Alabama

      VALENCIA−TORRES v. GOOGLE LLC, ET AL., C.A. No. 2:20−01651

               Northern District of New York

      BROWN v. GOOGLE, LLC, ET AL., C.A. No. 8:20−01311

MDL No. 3002 − IN RE: ACCELLION, INC., CUSTOMER DATA SECURITY BREACH
               LITIGATION

     Motion of plaintiff Grace Beyer to transfer the following actions to the United States District
Court for the Northern District of California:

               Northern District of California

      BROWN v. ACCELLION, INC., C.A. No. 5:21−01155
      ZEBELMAN v. ACCELLION, INC., C.A. No. 5:21−01203
      RODRIGUEZ v. ACCELLION, INC., C.A. No. 5:21−01272
      STOBBE v. ACCELLION, INC., C.A. No. 5:21−01353
      PRICE v. ACCELLION, INC., C.A. No. 5:21−01430
      BOLTON v. ACCELLION, INC., C.A. No. 5:21−01645
      WHITTAKER v. ACCELLION, INC., C.A. No. 5:21−01708
      COCHRAN, ET AL. v. ACCELLION, INC., ET AL., C.A. No. 5:21−01887
      BEYER v. FLAGSTAR BANCORP, INC., ET AL., C.A. No. 5:21−02239

               Eastern District of Michigan

      ANGUS, ET AL. v. FLAGSTAR BANK, FSB, C.A. No. 2:21−10657
      GARCIA v. FLAGSTAR BANK, F.S.B., C.A. No. 2:21−10671

               Southern District of Ohio

      JONES v. THE KROGER COMPANY, C.A. No. 1:21−00146
      GOVAERT, ET AL. v. THE KROGER COMPANY, C.A. No. 1:21−00174
      DOTY, ET AL. v. THE KROGER COMPANY, C.A. No. 1:21−00198



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MDL No. 3003 − IN RE: XIAOHUA HUANG PATENT LITIGATION

      Motion of defendants Enterasource, Inc.; Big Data Supply, LLC; and Hula Networks, Inc., to
transfer the following actions to the United States District Court for the Northern District of
California:

               Central District of California

      HUANG v. BIG DATA SUPPLY, INC., C.A. No. 8:21−00282
      HUANG v. ENTERASOURCE, LLC, C.A. No. 8:21−00284

               Northern District of California

      HUANG v. TALENTED TECHNOLOGIES, C.A. No. 3:21−01912

               Middle District of Florida

      HUANG v. TRIFECTA NETWORKS LLC, C.A. No. 8:21−00698
      HUANG v. XBYTE TECHNOLOGIES, C.A. No. 8:21−00712

               Southern District of Florida

      HUANG v. TRITON DATACOM ONLINE, INC., C.A. No. 0:21−60693
MDL No. 3004 − IN RE: PARAQUAT PRODUCTS LIABILITY LITIGATION

     Motion of plaintiff Paul Rakoczy to transfer the following actions to the United States District
Court for the Northern District of California:

               Northern District of California

      RAKOCZY v. SYNGENTA CROP PROTECTION, LLC, ET AL., C.A. No. 3:21−02083
      DENES v. SYNGENTA AG, ET AL., C.A. No. 3:21−02416
      O’CONNOR, ET AL. v. SYNGENTA AG, ET AL., C.A. No. 3:21−02495
      ALBANESE, ET AL. v. SYNGENTA AG, ET AL., C.A. No. 3:21−02496
      MAJORS v. SYNGENTA AG, ET AL., C.A. No. 4:21−02494

               Southern District of Illinois

      HEMKER, ET AL. v. SYNGENTA CROP PROTECTION, LLC, ET AL., C.A. No. 3:21−00211
      PIPER v. SYNGENTA CROP PROTECTION, LLC, ET AL., C.A. No. 3:21−00228
      RUNYON v. SYNGENTA CROP PROTECTION, LLC, ET AL., C.A. No. 3:21−00229



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KEARNS, ET AL. v. SYNGENTA CROP PROTECTION LLC, ET AL., C.A. No. 3:21−00278
DURBIN v. SYNGENTA CROP PROTECTION LLC, ET AL., C.A. No. 3:21−00293
       Eastern District of Missouri

HOLYFIELD, ET AL. v. CHEVRON U.S.A. INC., ET AL., C.A. No. 1:20−00165

       Northern District of West Virginia

BARRAT v. SYNGENTA CROP PROTECTION LLC, ET AL., C.A. No. 3:21−00050

       Southern District of West Virginia

TURNER v. SYNGENTA CROP PROTECTION LLC, ET AL., C.A. No. 2:21−00211

       Western District of Wisconsin

TENNESON v. SYNGENTA CROP PROTECTION LLC, ET AL., C.A. No. 3:21−00231




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                             SECTION B
    MATTERS DESIGNATED FOR CONSIDERATION WITHOUT ORAL ARGUMENT


MDL No. 2244 − IN RE: DEPUY ORTHOPAEDICS, INC., PINNACLE HIP IMPLANT
               PRODUCTS LIABILITY LITIGATION

      Opposition of plaintiff Tammy J. Nellenback to transfer of the following action to the United
States District Court for the Northern District of Texas:

               District of South Carolina

      NELLENBACK v. DEPUY, INC., ET AL., C.A. No. 2:21−00533

MDL No. 2591 − IN RE: SYNGENTA AG MIR162 CORN LITIGATION

     Opposition of plaintiffs Crumley Roberts, LLC, et al., to transfer of the following action to the
United States District Court for the District of Kansas:

               Southern District of Illinois

      CRUMLEY ROBERTS, LLP, ET AL. v. HENINGER GARRISON DAVIS, LLC,
        C.A. No. 3:21−00315

MDL No. 2804 − IN RE: NATIONAL PRESCRIPTION OPIATE LITIGATION

      Opposition of plaintiff Series 17-03-15, a designated series of MSP Recovery Claims, Series
LLC, to transfer of the following action to the United States District Court for the Northern District of
Ohio:

               Southern District of Florida

      SERIES 17−03−615, A DESIGNATED SERIES OF MSP RECOVERY CLAIMS,
        SERIES LLC, A DELAWARE SERIES LIMITED LIABILITY COMPANY v. PAR
        PHARMACEUTICAL, ET AL., C.A. No. 1:21−20797




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MDL No. 2873 − IN RE: AQUEOUS FILM−FORMING FOAMS PRODUCTS
               LIABILITY LITIGATION

      Oppositions of plaintiffs Bryan Jeffries, et al., to transfer of the Jeffries action; and Steven Brett
Ogden, et al., and defendant Intercontinental Terminals Company, LLC, to transfer of the Ogden
action to the United States District Court for the District of South Carolina; and motion of
defendants 3M Company; E.I. Du Pont De Nemours and Company; The Chemours Company; The
Chemours Company FC, LLC; DowDupont, Inc.; Corteva, Inc.; Dupont de Nemours, Inc.; AGC
Chemicals Americas, Inc.; and Archroma U.S., Inc., to transfer of the Nessel action to the United
States District Court for the District of South Carolina:

               District of Arizona

      JEFFRIES, ET AL. v. CHEMGUARD INCORPORATED, ET AL., C.A. No. 2:21−00059

               Western District of Michigan

      NESSEL, ET AL. v. 3M COMPANY, ET AL., C.A. No. 1:21−00205

               Southern District of Texas

      OGDEN, ET AL. v. INTERCONTINENTAL TERMINALS COMPANY, LLC, ET AL.,
        C.A. No. 4:21−00273

MDL No. 2885 − IN RE: 3M COMBAT ARMS EARPLUG PRODUCTS LIABILITY
               LITIGATION

      Oppositions of plaintiffs to transfer of their respective following actions to the United States
District Court for the Northern District of Florida:

               District of Minnesota

      BELL, ET AL. v. 3M COMPANY, ET AL., C.A. No. 0:21−00382
      LAKE, ET AL. v. 3M COMPANY, ET AL., C.A. No. 0:21−00386
      MURPH, ET AL. v. 3M COMPANY, ET AL., C.A. No. 0:21−00387
      PATRICK v. 3M COMPANY, ET AL., C.A. No. 0:21−00388




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MDL No. 2921 − IN RE: ALLERGAN BIOCELL TEXTURED BREAST IMPLANT
               PRODUCTS LIABILITY LITIGATION

      Motion of defendant Allergan USA, Inc., to transfer the following action to the United States
District Court for the District of New Jersey:

              Western District of Louisiana

     CALAIS v. ALLERGAN USA, INC., C.A. No. 6:20−01304




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RULE 11.1: HEARING SESSIONS AND ORAL ARGUMENT

      (a) Schedule. The Panel shall schedule sessions for oral argument and consideration of other
matters as desirable or necessary. The Chair shall determine the time, place and agenda for each
hearing session. The Clerk of the Panel shall give appropriate notice to counsel for all parties. The
Panel may continue its consideration of any scheduled matters.

      (b) Oral Argument Statement. Any party affected by a motion may file a separate statement
setting forth reasons why oral argument should, or need not, be heard. Such statements shall be
captioned "Reasons Why Oral Argument Should [Need Not] Be Heard" and shall be limited to 2 pages.

             (i) The parties affected by a motion to transfer may agree to waive oral argument. The
Panel will take this into consideration in determining the need for oral argument.

      (c) Hearing Session. The Panel shall not consider transfer or remand of any action pending in
a federal district court when any party timely opposes such transfer or remand without first holding a
hearing session for the presentation of oral argument. The Panel may dispense with oral argument if it
determines that:

            (i) the dispositive issue(s) have been authoritatively decided; or

             (ii) the facts and legal arguments are adequately presented and oral argument would not
significantly aid the decisional process. Unless otherwise ordered, the Panel shall consider all other
matters, such as a motion for reconsideration, upon the basis of the pleadings.

      (d) Notification of Oral Argument. The Panel shall promptly notify counsel of those matters in
which oral argument is scheduled, as well as those matters that the Panel will consider on the
pleadings. The Clerk of the Panel shall require counsel to file and serve notice of their intent to either
make or waive oral argument. Failure to do so shall be deemed a waiver of oral argument. If counsel
does not attend oral argument, the matter shall not be rescheduled and that party's position shall be
treated as submitted for decision on the basis of the pleadings filed.

         (i) Absent Panel approval and for good cause shown, only those parties to actions who have
filed a motion or written response to a motion or order shall be permitted to present oral argument.

         (ii) The Panel will not receive oral testimony except upon notice, motion and an order
expressly providing for it.

       (e) Duty to Confer. Counsel in an action set for oral argument shall confer separately prior to
that argument for the purpose of organizing their arguments and selecting representatives to present all
views without duplication. Oral argument is a means for counsel to emphasize the key points of their
arguments, and to update the Panel on any events since the conclusion of briefing.

      (f) Time Limit for Oral Argument. Barring exceptional circumstances, the Panel shall allot a
maximum of 20 minutes for oral argument in each matter. The time shall be divided among those with
varying viewpoints. Counsel for the moving party or parties shall generally be heard first.
